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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
                                         AT LOUISVILLE


UNITED STATES OF AMERICA                                                                               PLAINTIFF


v.                                                                   CIVIL ACTION NO. 3:16CR-101-CRS


PHILIP E. MICHAEL, II                                                                               DEFENDANT


                                        MEMORANDUM OPINION


         This matter is before the court on motion of the defendant, Philip E. Michael, II

(“Michael”), to dismiss Count 8 of the Second Superseding Indictment (“SSI”).1

         Count 8 of the SSI charges Michael with aggravated identity theft, in violation of 18

U.S.C. § 1028A. Michael has moved to dismiss this count on the ground that the indictment, as

charged, does not state a crime for which he may be convicted.

         An indictment must provide a “plain, concise, and definite written statement of the

essential facts constituting the offense charged.” Fed.R.Crim.P. 7(c).                       The purpose of an

indictment is “to inform the defendant of the nature of the accusation against him.” Russell, 369

U.S. at 767 (quoting United States v. Hess, 124 U.S. 483, 487 (1888)). “The Federal Rules of

Criminal Procedure, 18 U.S.C.A., were designed to eliminate technicalities in criminal pleading

and are to be construed to secure simplicity in procedure. Rule 2, F.R.Crim.Proc.” United States

v. Debrow, 346 U.S. 374, 376 (1953). As explained by the Supreme Court as early as 1895, an

indictment need not be a literary work of art:

         T]he true test is, not whether it might possibly have been made more certain, but

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 The United States has indicated that it intends to proceed under the Second Superseding Indictment. This court
will therefore address whether the charge therein is able to withstand the challenge raised in the present motion.
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       whether it contains every element of the offense intended to be charged, and
       sufficiently apprises the defendant of what he must be prepared to meet, and, in
       case any other proceedings are taken against him for a similar offense, whether
       the record shows with accuracy to what extent he may plead a former acquittal or
       conviction. Evans v. U. S., 153 U. S. 584, 587, 588, 14 Sup. Ct. 934; Batchelor v.
       U. S., 156 U. S. 426, 15 Sup. Ct. 446.

Cochran v. United States, 157 U.S. 286, 290, 15 S. Ct. 628, 630, 39 L. Ed. 704 (1895).


       The indictment must be read as a whole, accepting the factual allegations as true, and

construing those allegations in a practical sense with all the necessary implications. United States

v. Reed, 77 F.3d 139, 140 n. 1 (6th Cir.1996) (en banc). An indictment is to be construed

liberally in favor of its sufficiency. United States v. Davis, 306 F.3d 398, 411 (6th Cir.2002).

United States v. McAuliffe, 490 F.3d 526, 531 (6th Cir. 2007).

       The SSI charges that

       On or about September 17, 2013, in the Western District of Kentucky, Jefferson
       County, Kentucky, and elsewhere, the Defendant herein, PHILIP MICHAEL,
       did knowingly possess, transfer and use the means of identification of another
       person, without lawful authority, during and in relation to the offense charged in
       Count 7, to wit, PHILIP MICHAEL possessed, transferred, and used the name,
       date of birth and other identifying information for P.R. and the name and NPI # of
       A.S., a physician, to submit a fraudulent claim for payment.

SSI, ¶ 65.

       The defendant contends that, under Sixth Circuit caselaw, taking the facts as true,

Michael’s conduct does not constitute the crime of aggravated identity theft.

       There does not appear to be any dispute as to what Michael purportedly did on September

17, 2013. The United States explains Count 8 in greater detail in its brief, stating that while

working as a pharmacist for Aracoma Pharmacy, Michael allegedly used the identifying

information of P.R. and the name and physician number of A.S. to submit a claim to Humana for

reimbursement for a drug, Lovasa, which was not authorized by A.S. and was not dispensed to

P.R. by Michael. Michael urges that under Sixth Circuit law, this act, if proved, does not

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constitute aggravated identity theft. We agree.

       The contours of the crime of aggravated identity theft are defined by three cases in the

Sixth Circuit: United States v. Miller, 734 F.3d 530 (6th Cir. 2013); United States v. Medlock,

792 F.3d 700 (6th Cir. 2015); and the very recent case of United States v. White, 846 F.3d 170

(6th Cir. 2017) which discusses both Miller and Medlock.

       In Miller and Medlock, the Sixth Circuit found that the use of another’s identifying

information did not, per se, fall under the aggravated identity theft statute, and under the facts in

each case, the statute did not reach the conduct charged. The Sixth Circuit reached a different

result in White. The court found, after distinguishing the facts before it from those in Miller and

Medlock, that the defendant properly stood convicted of aggravated identity theft.

       In Miller, the defendant provided a document, a resolution by an investment group, to a

bank in order to secure a loan with the group’s property as collateral. The investors’ names were

handwritten in, without their knowledge and consent. The resolution falsely indicated that the

group met and authorized the defendant to pledge the collateral. The Sixth Circuit considered

and ultimately rejected the United States’ contention that the “use” of the means of identification

of another person should be construed broadly to include the intentional availment by the

defendant of the investors’ names in order to falsely manufacture authority to encumber the

group’s property for the defendant’s benefit. While noting that the House Report stated that “the

statute was intended to reduce the incidence of identity theft and fraud and address the most

serious criminals by providing stronger penalties for those who would commit such crimes in

furtherance of other more serious crimes,” (H.R. Rep. No. 108-528, 785 (2004)), the Sixth

Circuit found that “Miller’s case is readily distinguishable from all eight of the identity theft

cases offered in the report as examples of why Congress needed to enact a two-year mandatory



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minimum sentence of imprisonment that runs consecutive to a predicate offense for certain kinds

of identity theft crimes.” 734 F.3d at 542.      The court reasoned that although the conduct

constituted bank fraud, and affirmed Miller’s conviction on that court, “as a matter of law, Miller

did not “use” a means of identification within the meaning of § 1028A by signing a document in

his own name which falsely stated that [the other investors] gave him authority as [the group’s]

managing member, to act on behalf of [the group] and pledge its property…”

       This court similarly finds that the facts herein are readily distinguishable from the eight

examples recited in the House Report. All of those cases involved the defendant’s creation of a

false persona with the victim’s information which was then employed by the defendant, or the

impersonation of the victim by the defendant, or the facilitation for another to do so. By

contrast, Michael is charged with submitting a false claim to an insurance company for

reimbursement for a prescription for an individual, P.R., which was neither written by a

physician, A.S., nor filled by Michael. While this might constitute healthcare fraud, it does not

constitute aggravated identity theft.

       In Medlock, the Murfreesboro Ambulance Service (“MAS”) transported numerous

patients for dialysis who were not experiencing an emergency nor had any medical necessity for

ambulance transport.     The defendants billed Medicare for these services rendered to these

patients, representing that transportation by stretcher was required. Despite the United States’

argument that the Medicare recipients who the defendants transported were not entitled to

reimbursed rides, the Sixth Circuit found that the submission of claims in the patients’ names

did not constitute aggravated identity theft as the defendants did not “display, barter, or refer to

means of identification, as such, during, in relation to, or for the purpose of helping to commit

the crime,” but rather “lied only about their own eligibility for reimbursement of the services.”



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792 F.3d at 706-07. In an addendum to the opinion, the court clarified that one count of

conviction for aggravated identity theft by defendant Kathy Medlock was affirmed. She did not

challenge this count of conviction, and the court found that, unlike the other counts where no

“use” of a patient’s means of identification was found, with respect to this count it had been

shown that Kathy Medlock forged a physician’s signature, thereby using his identity to obtain

reimbursement. 792 F.3d at 712.

       In the case at bar, similarly to the facts in Medlock, Michael allegedly submitted a claim

in the name of a Humana insurance recipient for services (the filling of a prescription for Lovasa)

which Michael did not provide. Additionally, similarly to the facts in Miller, Michael submitted

to Humana information that physician A.S. prescribed the drug for the Humana recipient, when

he did not. The United States argues that a distinction can be drawn between Miller and Medlock

and the charge here inasmuch as Michael’s claim for reimbursement was “wholly fictitious.”

We do not find that any such distinction can be drawn.

       The final case, United States v. White, 846 F.3d 170 (6th Cir. 2017), reinforces the court’s

conclusion that the conduct alleged in Count 8 of the SSI does not constitute aggravated identity

theft as a matter of law. There the court stated, in pertinent part:

       We conclude that White's actions are distinguishable from both the Miller and
       Medlock defendants, and that White's actions in this case are most similar to
       Kathy Medlock's affirmed aggravated identity theft conviction for signature
       forging in the Medlock addendum. Both of those cases were principally about
       defendants who lied about their own actions. And, importantly, the personal
       information used in both Miller and Medlock was memorialized in documents that
       were submitted to other parties with the Miller and Medlock defendants' names
       and identities included on those documents. White did more than simply lie about
       whether her clients were eligible for military discounts. Indeed, she did more than
       assert to the airlines that her clients were eligible. She took a significant additional
       step, and submitted what she represented to be actual identification that the
       United States Military purportedly had issued for her clients…The distinction in
       this case (and the similarity to Kathy Medlock's valid conviction under § 1028A
       for signature forging) arises from White's actions in creating false military


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       identification cards and attempting to pass them off as her clients' own personal
       means of identification…We therefore conclude that White was properly
       convicted pursuant to 18 U.S.C. § 1028A because when she manufactured *178
       and submitted to the airlines the fraudulent military identification cards, she
       “used,” without lawful authority, a means of identification of another person
       during and in relation to the wire-fraud felony of which she was convicted.

United States v. White, 846 F.3d 170, 177–78 (6th Cir. 2017). The Sixth Circuit in White offered

a clear demarcation between what is and is not within the scope of aggravated identity theft.

       Michael’s conduct, charged in Count 8, does not constitute aggravated identity theft, as a

matter of law. Count 8 of the SSI will be dismissed by separate order.



IT IS SO ORDERED.



                 April 29, 2017
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